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IN THE UNITED STATES COURT OF APPEALS

FOR THE FIFTH CIRCUIT

 

No. 11-10586

 

RICHARD MILLER,

Plaintiff - Appellee Cross-Appellant
Vv.
RAYTHEON COMPANY,

Defendant - Appellant Cross-Appellee

Consolidated with 11-10988

RICHARD MILLER,

Plaintiff - Appellant
Vv.
RAYTHEON COMPANY,

Defendant - Appellee

 

Appeal from the United States District Court for the
. Northern District of Texas, Dallas

 

Before JONES, GARZA, and PRADO, Circuit Judges.
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PER CURIAM:

IT IS ORDERED that the appellee cross-appellant’s opposed motion to

transfer consideration of appellate attorney’s fees to the United States

District Court for the Northern District of Texas, Dallas, on remand is feild
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IT IS FURTHER ORDERED that the appellee cross-appellant’s
opposed alternative motion for an extension of 14 days from the date of the

Court’s denial of the motion to transfer, to move for appellate attorney’s fees

and costs is th tf to Manaccedary .
